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      EXHIBIT 2
 WOLFE EXPERT REPORT

                         (EXCERPTS)
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                         UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

IMMERSION CORPORATION,

            Plaintiff,
                                                Case No. 2:17-cv-00572-JRG
      v.
                                                Case No. 2:18-cv-00055-JRG
SAMSUNG ELECTRONICS AMERICA, INC.
                                                JURY TRIAL DEMANDED
and SAMSUNG ELECTRONICS CO., LTD.,

            Defendants.




                EXPERT REPORT OF DR. ANDREW WOLFE, PH. D.

                     ON THE INVALIDITY OF U.S. PATENT NOS.
                     6,429,846, 7,982,720, 8,031,181, AND 8,619,051
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are directed towards the concept of receiving data, processing that data, and outputting a signal

response for a user.

       148.    Thus, the asserted claims combine prior art elements to operate in the same manner

they always have, simply in a different context (i.e., haptic feedback). Also, as I explained above,

the haptics feedback technology has long existed before the ’846 patent. See, e.g., Riegel Dep. Tr.

at 61:1-7 (haptic feedback existed), 58:21-59:1 (haptic feedback devices existed).


               2.      Obviousness Opinions

       149.    As set forth in more detail in the claim chart of Exhibit 3A, it is my opinion that the

asserted claims of the ’846 Patent are rendered obvious by Stephan in view of Oross.


       150.    As set forth in more detail in the claim chart of Exhibit 3B, it is my opinion that the

asserted claims of the ’846 Patent are rendered obvious by Blouin in view of Stephan.


       151.    As set forth in more detail in the claim chart of Exhibit 3C, it is my opinion that the

asserted claims of the ’846 Patent are rendered obvious by Fujita in view of Stephan.


       152.    As set forth in more detail in the claim chart of Exhibit 3D, it is my opinion that the

asserted claims of the ’846 Patent are rendered obvious by Beeks in view of Stephan.

               3.      Specific Motivations to Combine

                          a. Stephan in light of Oross

       153.    Stephan discloses several embodiments of touch pads having multiple regions with

different functionality, with just two of the examples in Figures 8 and 12 shown below. Stephan

at 10:63-11:27, 12:25-34, FIGS. 8, 12.




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       223.    The asserted claims of the ’720 patent use these conventional, pre-existing

components to perform the act of processing input data and outputting data as user feedback. They

are directed towards the concept of receiving data, processing that data, and outputting a signal

response for a user.

       224.    Thus, the asserted claims combine prior art elements to operate in the same manner

they always have, simply in a different context (i.e., haptic feedback). Also, as I explained above,

the haptics feedback technology has long existed before the ’720 patent. See, e.g., Riegel Dep. Tr.

at 61:1-7 (haptic feedback existed), 58:21-59:1 (haptic feedback devices existed).


               2.      Obviousness Opinions

       225.    As set forth in more detail in the claim chart of Exhibit 4A, it is my opinion that the

asserted claims of the ’720 Patent are rendered obvious by Stephan in view of Oross and Blouin.


       226.    As set forth in more detail in the claim chart of Exhibit 4B, it is my opinion that the

asserted claims of the ’720 Patent are rendered obvious by Blouin in view of Stephan.


       227.    As set forth in more detail in the claim chart of Exhibit 4C, it is my opinion that the

asserted claims of the ’720 Patent are rendered obvious by Fujita in view of Stephan and Blouin.

               3.      Specific Motivations to Combine

                          a. Stephan in light of Oross and Blouin

       228.    Stephan discloses several embodiments of touch pads having multiple regions with

different functionality, with just two of the examples in Figures 8 and 12 shown below. Stephan

at 10:63-11:27, 12:25-34, FIGS. 8, 12.




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              2.      Obviousness Opinions

       304.   As set forth in more detail in the claim chart of Exhibit 5A, it is my opinion that the

asserted claims of the ’181 patent would have been rendered obvious by Stephan in view of Oross

and Blouin.


       305.   As set forth in more detail in the claim chart of Exhibit 5B, it is my opinion that the

asserted claims of the ’181 patent would have been rendered obvious by Blouin in view of Stephan.


       306.   As set forth in more detail in the claim chart of Exhibit 5C, it is my opinion that the

asserted claims of the ’181 patent would have been rendered obvious by Fujita in view of Stephan

and Blouin.


       307.   As set forth in more detail in the claim chart of Exhibit 5D, it is my opinion that the

asserted claims of the ’181 patent would have been rendered obvious by Beeks in view of Stephan

and Blouin.

              3.      Specific Motivations to Combine

                          a. Stephan in light of Oross

       308.   Stephan discloses several embodiments of touch pads having multiple regions with

different functionality, with just two of the examples in Figures 8 and 12 shown below. Stephan

at 10:63-11:27, 12:25-34, FIGS. 8, 12.




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   XII.    CONCLUSION

       394.    I reserve the right to amend and/or supplement the foregoing in accordance with

applicable Court rules, orders, and procedures.



Dated: December 21, 2018




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